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        United States Court of Appeals
             for the Fifth Circuit
                            ___________

                             No. 23-50224
                            ___________

Leila Green Little; Jeanne Puryear; Kathy Kennedy;
Rebecca Jones; Richard Day; Cynthia Waring; Diane
Moster,

                                                      Plaintiffs—Appellees,

                                 versus

Llano County; Ron Cunningham, in his official capacity as Llano
County Judge; Jerry Don Moss, in his official capacity as Llano County
Commissioner; Peter Jones, in his official capacity as Llano County
Commissioner; Mike Sandoval, in his official capacity as Llano County
Commissioner; Linda Raschke, in her official capacity as Llano County
Commissioner; Amber Milum, in her official capacity as Llano County
Library System Director; Bonnie Wallace, in her official capacity as
Llano County Library Board Member; Rochelle Wells, in her official
capacity as Llano County Library Board Member; Rhoda Schneider, in
her official capacity as Llano County Library Board Member; Gay Baskin,
in her official capacity as Llano County Library Board Member,

                                      Defendants—Appellants.
              ______________________________

              Appeal from the United States District Court
                   for the Western District of Texas
                        USDC No. 1:22-CV-424
              ______________________________
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                               No. 23-50224




ORDER:
      IT IS ORDERED that Appellants’ opposed motion for leave to file
reply brief in excess of the word count limitation, but not to exceed 8,500
words is GRANTED.




                        Lyle W. Cayce, Clerk
                      United States Court of Appeals
                           for the Fifth Circuit
                            /s/ Lyle W. Cayce

       ENTERED AT THE DIRECTION OF THE COURT




                                    2
